           Case 1:14-cv-03534-GLR Document 2-3 Filed 11/12/14 Page 1 of 8


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                                                                                                            D~@~OW~rru
                                                                                                            In'       SEP Iii 2014 ~
                            INllIE HEALllI CARE ALTERNATIVE DISPUTE                                                        HEAl..TH CARE
                                  RESOLlITlON OFFICE OF MARYLAND                                                  ALTERNATIVE
                                                                                                                      RESOLUTION
                                                                                                                                    DlS"'UTe
                                                                                                                                    OFFICE


     BONNIE FORTNER                                       •
             Claimant                                     •
                                                          •
     v,                                                           HCANo .
                                                                                ----------
     Kaiser found. lion Health Plan                       •
     ofU,e Mid-Atlantic States, Inc, el    0/;

                                                          •
             Deftndant Health Core Pmvicier
                                                          •
     •       •      •       •       •            •        •        •        •          •        •       •             •
                                CERTIFICATE OF QUALIFIED EXPERT

            I, 8mce D. Charash, MD, hereby certny thaI the following slalemenls are true lUld .

     accurate:

             I.     I, Bruce D. Ch.rasll,        MD., am a board-eertified ,,,lemai medicine physician

     licensed to practice medicine in the State of New York.

            2.      In addition    to being          boald-certified     in internal       medicine,   I have clinical

     experience, have provided consultation relnting to clinical proctice. and/or laugh I medicine in the

     Defendanl Heald",.re    Providers'    specialty and/or sub-specialties of medicine, or Ihe specially

     and/or sub-specialties of medicine practiced by lhe Defendant Health •• re Providers and/or d,eir

     agenls, servant', and/or employees, or a related field ofl1ea.lth care, within live (5) ycars of the

     dale of the alleged act or omission giving rise to lhe underlying cause ofacuon.

            3.      From my review         of Lhe pertinenl            medical reconds, I have concluded                   with

     reasonable Inedical probability      lhat there were deviations from lhe accepted aild applicable

     slandards of care on the part of lhe Defendanl HciIltncare Providers Kaiser F/lundatinn Health

     Plan of the Mid-Atlantic Stales, Inc. and Mid-Atlantic Pennanenle Medical Group, P.C., acting




                                                                                                              ._-.'    '
     Case 1:14-cv-03534-GLR Document 2-3 Filed 11/12/14 Page 2 of 8




dl/ough their agents, servanlS, and/or employees Maia Palel, M.D~ Dana Sloane. M.D., Mark

Walker. MD., arid Michele Henley, M.D.

       4.      r have   also concluded with reasonable medical probability that d,ese deviations

were a direct and proximale cause of the Claimant's alleged injuries and damages.

       5.      AU"chad is a briefstatement   of my opinions in this mailer.

       6.      Less than twenty percent (2U%) annually of my professional activiLies involves

testimony in pernon.' injury cases.



                                             r'lflU "---
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                                              amce D. Charash, M.D.




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                                                                                    "."""
            Case 1:14-cv-03534-GLR Document 2-3 Filed 11/12/14 Page 3 of 8


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                                                                                 BMlce D. qlarash, M.D.
                                                                             210 Central Pw'k South, 11M
                                                                             New York, New York 10.0.19
     Christopher S. Nonnan
     Wais, Vogelslein & Forman, Lr.C
     1829 Reislerstown Road, Suile 425                                                          o~                 8 (gfn\
     Baltimore, Maryland 21208
                                                                                                     SEP 1 5 2014            10
             RE:     Bon "ie Fortner                                                                    HEAI.THCARE
                                                                                                    AlTERNATive    DISPUTE
                                                                                                     'tESOLUTtQN   OFFICE
     Dcar Mr. Norman:

              r have reviewed BOMie Fortner's records from Kaiser PertlUlnente, St. Agnes Hospital,
     and the Universil)' orMaryland Medical Center. Based on my review of the medical records, it is
     my opinion that Kaiser physicians Maia Patel, M.D., Dana Sloane, M.D., Mark Walker, M.D.,
     and Miehcle Henley, M.D., deviated ITem the applicable standards of care during their care and
     treatment of Bonnie Fortner. II is also my opinion to a reasonable degree    or
                                                                                 medical certainty
     thnl dleir deviations were a direct and proximnte couse orBonnie Fortner's injuries and damages.

             Mrs. Fortner was seen by Dr. Palel on June 30, 20.11 [01' follow up fi'am a recent
     hospiUllization. During this visil, Dr. Palel ordered vanous lnboratnl}' studies, which wcredrawn
     on this date and showed, among OIherthings, an ASTof 100, an ALTof73, and an ALKP of
     150.

            On July, 1,201 I, Mrs. Fortner was seen by Dr. Marl< Walker for, among other things,
     hypocalcemia. He noted that Mrs. Fortner has also recently experienced muscle spasm and
     weakness, low potassium, calcium, and magnesium, indigestion and reflux, and loose bowels.

              On July 7,20. 11,0,'. Patel noled d,a[ she Was referring Mrs. Forlller to a
     gastroenterologist Dr. Patel also noted 'that she "ordered a broad wornup per LIT abnonllalily
     guidel;,\es"; and that she ordered repeat laboratol}' war!<in light of Mrs. Fortner's previously
     elevated liver enzymes. The lobs completed on this date showed on AST of 139, an ALT of 81,
     and an ALKP of 162. Additional Jabol'Btol}' '"''ark done on this dale was negative for Hepatitis A,
     B, and C. She was also found lo have high iron and FElTIBC. Additional Jab work done on
     Augusl4,2o.lJ apparently showed an ASTof64 and an ALTof60.

               Mrs. Fortner saw Dr. Sloane on August 8, 2011 for an evalualion of her .hnonnalliver
     associated lesls, diarrhea, and GERD. Dr. Sloane noted that a review of potcntial risk factOrs
     revealed the Mrs. Fortnel' bad a blood transfusion in 20.01, and lila! she has multiple tattoos. Dr.
     Sloane also noted that Mrs. Fortner had no hislOl}' oflVdrog use, excessive alcohol or other
     illicit dn'g use, hepatotoxic or herbal medication use, hislol}' of previous hepatitis or jaundice,
     fllmily history of liver disease, or elClens;ve travel outside of the United States. Mrs. Fortner
     reported unintentional weight loss. The note indiC8les that Mrs. Fortner's liver was palpable 4
     em bclow tile right coastal margin. Dr. Sloane's "impression" nole from this visit is devoid of
      Case 1:14-cv-03534-GLR Document 2-3 Filed 11/12/14 Page 4 of 8




any commenl regarding Mrs, Forlner's abnonnallivor tests. Dr. Sloane's recommendalions
included, among othc.' lhings, a right upper quadranl ultrasound, a complete serologic evaluation
including hepatitis, and follow up in 6 weeks. The n~le also indicates thal Dr. Sloane advised the
polientto refillin rrom all alcohol, tobacco, and drug use,

       Additionallabo1'Blory work WIISrelumed on August 9, 2011. The rCSldlSwere negative
for hepatitis B and C, bul positive for hepatitis A, Fen;lin was higb. The results also showed
nonnal IGG, IGA,IGM, ACTIN IGG, MITOCHONDRIA AB, and Alpha 1 fetoprolein.

        flr. Walker sent Mrs. Fortner a message on'Augusl 16,2011. This message indicates that
Dr. Walker was aware of Mrs. FOlmer's recent visit with Dr. Sloane. The message also states
thal "mosl ofthe labs you did for me was [sic) fine, bUIlhe carotene ,,'as low, suggesting you are
not absorbing nutrients in your gut" This message chain also indicates thaI Dr. Walker was
aware or the labs thaI Mrs. Fonner did recenUy for Dr. Patel, and suggests doing additional labs
for Dr. Walker in 2-3 weeks.

        Mrs. Fortner sent Dr. Sioanc a message on August 24, 2011 to let hcr know that She bad
to cancel her appointment fol' Septembel' 2 I It and that she needed to cancel her upcoming
ultmsound in light of her work schedule. MI'., Fonner stated Ihat she wanled to reschedule her
ultrasound forSeplember 29, and her appointment ror Octobcr21. Dr. Sloane responded lhal
Mrs. Fortncr's request to reschedule was no problem, and lhat she should contact radiology
direeUy to reschedule.

        The ne.~ follow up rrom any Kaiser medical provider did not occur until Mrs. Fortner
sent Dr. Sloane a message on March 11, 20J2 osIdng for a refill ofber Protonl", a medicatioo
used to treat GERD. Dr. Sloane responded to Mrs. Fortner's l"C<luesland provided a refill for the
Prolonix. but did not inquire regarding lhe ultrasound and follow up appointment that she -
requested for Mrs. FOI'lner back in August of201 \. Dr. Sloaoe did nol see Mrs. Fortoer al this
time.

        The next contact Mrs. FOl'lner had wilh Dr. Pale' did not Occur ITnlilJune 5, 2012, when
Mrs. Fortner reached" oullu Dr. Palel and asked for follow up labs. DI'. \late! responded by
ordering labs for M.'S. Foltner, and also letting her know dIal she moved her omce to"Vhite
Marsh, and thal Dr. [Michele) Benlcy was now listed as Mrs. Fortner's doctor.althe Severna
Park location. The lob work tim! Mrs. Fortner requested was retumed 011 June 14,2012- it
showed an ASTof62, an ALT of37, and nonnal ALKP and bilirubin.

        Mrs. Fortner sow Dr. Michele Henley for the fi''S1time on June 27, 2012 for a health
assessment Although Dr. Renley's noleindieates that Mrs. Fortner had a history of abnonnal
liver function tests, her a""essment and plan did not address thai hislorical finding.

        On January 4, 2013, Mrs. Fortner was again seen by Dr. Henley. Mrs. FOrlnerwas
reporting pain, nausea. vomiting, and diarrhea, and a feeling as dlough she was baving a
recurrence of shingles. Mrs. Fortner was nOled to be mildly dehyd''ated. Again, Dr. Henley's
assessment and plan did not address Mrs. Fortner's liver runction abnormalities.
                                 Case 1:14-cv-03534-GLR Document 2-3 Filed 11/12/14 Page 5 of 8




                                    Mrs. Fminer sent a message to Dr.lienley on Janull1Y6, 2013, Lelllng her thai she was
                           still feeling very sore and weak. Mrs. Fonner explained that she was unable to go to work, and
                           requested a work note. Mrs. Fortner senl a similar message again on JanUll1Y10,2013.           . .

                                    Mrs. Fortner saw Dr. Sloane on January 16,2013, for the firsttime in 17 months sioee
                           her initial appointment back in Augusl of20 II. Dr. Sloane noted that Mrs. Fortner was
                           previously seen on August 8, 2011 for eva!uation of abnolmalliver associated tests. Dr.
                           Fortner's "impression" notercads "history of abnormal liver associated tests, no follow up since
                           2011." Dr. Sloane noted that Mrs. Fortner had been experiencing ""rsistent nallsea, vomiting,
                           and diarrhea for dIe last two weeks. Lab results fretn this dale include an AST of 177, an AL T of
                           132, an ALKP of J24, and normal bilirubin. Dr. Sloane's reeommendati'lns were: counseled on
                           gentle perianal care, obtain slool sludies, pending resulL considcr empiric lreatlnenl for small
                           intestine bacterial overgrowth, counseled onlaClo." avoidance, check iron indices-hereditaoy
                           hcmachromalosis, contnCl with queslions or concerns, follow up after stool studies. Again, no
                           mention was made ofa plan for determining Ule cause of Mrs. Fortner's liver function
                           abnonnnlities.

                                   On February 21, 2013, M". Forlner was seen by Dr. Michele Henley for follow up ITom
                           a recenl hospitalizalion fo,' hand cramps. Dr. Henley's note includes lab resulls trom Ihe recent
                           hospitalization, including 8n AST of J 12, an ALT of82, an ALKP of 127, and normal bilirubin.
                           Again, Dr. Henley's assessment and plan did nol address Mrs. Fortner's liver funclion
                           abnol111alities.                                  .

                                  Mrs. Fortner saw Dr. Walker again on February 27, 2013 fur routine follow up ofhcr
                           hypocalcemia. Dr. Walker Doled U,at Mrs. Fortner's energy WlISpoor. Her bowel. were still
                           IODseliquid, and conmined undigested food. He notod dlat she had been to the ER recently for
                           muscle spasm, factal numbness, tingling aod difficulty breathing. He also noted a mild tremor in
                           her hands.

                                   Dr. Sloane sent Mrs. Fortner a message on March 21, 2013, telling Mrs. Fortner that her
                           concern at this point was either a neuroendocrine process causing the diarrhea, or an underlying
                           Slllan bowel Croon's disease.

                                   On June, 3, 3013, Mrs. Fortner sow n new priinalY care physician, Dr. AkolO, for lbe first
                           timc. According to Dr. Akoto, Mrs. Fortner's diagnoses at the time included futigue.
                           hypocalcemia, hypomagnesemia, hypokalemia, impaired fasting glucosc, abnom,ollinding on
                           liver function, rash, and chronic bronchitis. Dr. Akoto noted that Mrs. Fortner was suffering
                           from chronic fatigue, myalgias, anhedonia, poor appetile, and recoot agoraphobia. Thenole
                           indicates lIlat she has not been able to work due to her symptoms. TI,e note also states lhat Mrs.
                           Fortner was found to have multiple elcctrolyle and vitanlin abnonnalitics and has been seeing
                           endocrinology for that Her mood was worse. The note stales lhal Mrs. Fortner wanted screening
                           fOTher ehmnic complaints.

                                   Labs were dra'l','ll on June 4,.2013. TI,e results included, among other dlings, an AST of
                           246, an ALl' of 10 J, an ALKP of200, high bilirubin, and 0 low BUN. Dr. Akolo sent Mrs.
                           Fortner as message on this date stating: "Your liver function is considerably worse and the worse




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           Case 1:14-cv-03534-GLR Document 2-3 Filed 11/12/14 Page 6 of 8




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      [sic] that it has ever been. I want you to follow up wilh Dr. Sloane as soon as possible for
     evaluation. Did you ever get a liver biopsy? Do you drink any .Icohol or take any over the
     counter supplemenls or h••'!>s?Vour vimmin D level was also low. I would like you to
     supplementlhis with vitamin D." Mrs. Fortner !'e.lIondell: "I drink about 6 glasses of wine a day,
     this helps me with my depression and ability to sleep. No J have never had my liver biopsied. Dr.
     Sloane has mentioned thut my liver function had high levels, but never mentioned getting a
     biopsy."

              Dr. Akoto sent Mrs. Fonner another meSSllgeon June 5 staling: "You need to stop
     drinking. Youl'liver timction is much wo""' than before. Your liver can't tolerate the amount of
     alcohol al this point. You are sllll1ing to gct higher levels ofbiliruhin in your bloodstream ... your
     hepatitis tests were nOI'molSOthe drinking is probably lite major cause orthe liver damAge. The
     liver enn regenerate itselfbut nol ifyoo keep drinking ... I would recommend stopping and
     letting us recheck the enzymes in I month , .•"

             On June 18,2013, Dr. Sloane sent Mrs. FOItner a message saying that U,e results of her
     labs were possibly consistent with a neuroendocrine problem as the cause of her diarrheD. Dr.
     Sloane suggested Dnoetreotide SCDnat Hopkins to look ror any anAtomic cause of. honnone
     problen,.

              The octreotide sca. was done on July 31, 2013. The scan evidenced hepalOftlegaly,
     profound ratty liver, pericholecystic .nuid collection, gallbladder wall thickening, and mesentmric
     fully stranding in the right lower quadranl Dr. Sloane sent Mrs. Fortner a message on Augusl5,
     2013 regarding the results of the octreotide scan. Dr. Sloane did not notify Mrs. Forloer in this
     message orlbe diagnosis offatty liver, but instead jus/wId Mrs. FOltner that the oclreolidc scan '
     did not show any evidence of a neuroendocrine tumor.

             On August IS, 2013 Mrs. Fortner was seen by Dr. Akolo. 'l1lis note indicates lhatthe
     octreotide scan evidenced fatty liver and a fluid collection. Lab reSults from d,is visil inelude a
     low BUN,Iow eGFR, low albumin, nonnal ALT, AST of 82, ALKP of 159, and high bilirubin.

              Mrs. Fortner was admitted to 51. Agnes Hospital on Augus! I?, 2013. The records from
     this admission indicate that Mrs. Fortner Was senllo the hospital by her primary care physician
     after havi.g multiple bouts of nausea, vomiting, and diarrhea, with complete p.o. intolerance and
     abdominal pain. She had a 381b weight loss in the last two months. Jmaging studies during Ibis
     admission showed fatty infiltralion of the liver which was enlarged with ill-defined areas of
     hypoatlenlUadon. Labs dUI'ing this admission, include the follow results, among others: BUN 5,
     Creatinine 1.2, eGFR 48, total bilirubin 2, direct bilirubin 12, indicrect bilirubin .8, ASr 60,
     ALT 19, albumin 2.7, and lipase 10. On physical exam she Was noled to be lOUdlyjaundiced. A
     gastroenlerology consult during this admission noted, among othcr things; that Mrs. Portner's
     liver was massively enlarged, h.rd, and slightly irregular. At the dme oflhe gastroenterology
     consull un MRI was pending - it was nOled thaI irthe MRI was not helpful, a liver biopsy would
     be nceded. Mrs. Fortner,,'BS lransfer rrom 51. Agnes to Ihe University or Maryland on
     September 6, 2013. Her diagnoses atllte time of discharge included, among other things, hepatic
     steatosis and cirrhosis.




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      Case 1:14-cv-03534-GLR Document 2-3 Filed 11/12/14 Page 7 of 8




        While at the University of Maryland, there is a nole in lhe Kaiserrecords stating "prior
evaluation from 112013 demnn<lraled fluclUating liver associated tests. Liver biopsy was
discussed, hut deferred far evaluatian/mnnngeml'l1t of diarrhea." The healthcate providers ot the .
University ofMarylnnd detennined thaI Mrs. Fortner required a liver and kidney lrllnsplant
According to the records, Kaiser refused to cover Mrs. Fortner's transplant for a nu!nber of
varying reasons, including because in their opinion, the transplant was "not medically
necessary." The records indicate that Mrs. FDI1J1erstopped d"inking in June of20! 3, presumably
as a result of Dr. Akoto's'message informing her of her abnormal liver funclion tests, inquiring
about her alcohol use, inf01llling herofthe affcct of alcohol on her liver, and telling her thaI she
needed to SlOpd.inking. Ultimately, Mrs. Fortner received a liver and kidney transplant nt the
University of Maryland and was discharged in early 2014.

         r offer the fu!lowing opinions regarding the care and treatment rendered to Mrs. Fortner
by the aforementioned healthcare providers, based upon my review OrUle records, my educatiO'I,
training, and experience as an internal medicine physician, and based upon my understanding of
the standard of care;

        First, the standa,'dsaf care required the heallhcare providers to Ihoroughly review Mrs.
Fortner's medical hisOOLY,    including her historicallahoralory results, and 10be aware of Mrs.
Fortner's abnormal liver function tests.

        Second, the slandanls of care required the healthc.re providers 10 promptly infonn Mrs.
Fortnerofher abnonnalliver function values, which wcre firsl noted on June 30,201 1. In this
regard, a physician with the base of knowledge that would be required to practice within the
standard ofcareshould have immedialely suspected alcohol as the cause of Mrs. Fonner's liver
function abnonnalities in light of the factlhatthe AST wa, higher than Ihe AL T, which generally
does not occur in non-alcoholic liver disease.                               .

        Third, in lighl of 1I,c blood lests results which ruled oul other causes of Mrs. Fortner's
Jiver function abnormalities sl1chas hepatitis, Ihe standard of care required the hcalthcare
providers to order imaging studies in an attempt to definitively diagnose the cause of Mrs.
Fortner's abnonnalliver thnclion tests, and ensure that Ihose imaging studies were completed in
a timely manner.

        Fnurth, iflhc imaging studies were not diagnostic, the standards of care required the
heallhCllre providcrs to question Mrs. Fortner directly reg-wing her alcohol usage, over and
beyond the general questioning done when taking a typical social history.

        Fillh, if Mrs. Fonner admitted to alcohol use, the standard of care .required the healU1C01'C
providers to counsel Mrs. Fortner regarding the affect ofalcnhol on her liver, and aid Mrs.
Fortner in gelling help for her alcohol use if.necessary.

        Sixth, if Mrs. Forlner denied. alcohol use, the standard ofeare required the healthcare
providers to send Mrs. Forlnerfor a liver biopsy, which more likely thall not would have resulted
in a diagnosis of cirrhosis, al which lime the standard of care would have required the healtheare
providers to counsel Mrs. Fortner regarding the affect of alcohol on het liver, and aid Mrs.




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          Case 1:14-cv-03534-GLR Document 2-3 Filed 11/12/14 Page 8 of 8




     Fortner in gelling help for her alcohol use ifnecessa,y.

             Seventh, throughout dIe workup for Mrs. Fonner's abnormal liver function tests d,at
     was required by the standards of care, the standards of care required the bealthcare providers to
     e",ure that Mrs. Fortner was seen in follow up on a regular basis until the cause of her abnormal
     liver function tests was detennn,cd.

             Eightll. throughout the workup for Mrs. Fortner's abnormal liver function tests !haLwas
     required by the slllndards of care, the standards of care required the henhhcsre providers to
     consul~ coordinate, and confer with Mrs. Fortner's other treating healtheare providers to ensure
     thatlhe cause of Mrs. fortner's abnonnalliver limction tests was being worked up appropriately.

           The henlthcare providers breached the standards of care by failing to do aU of the
     afonemenlioned things that were reqa ired by dIe standards of care.

             Had the healthcare providers complied with the standards of care as set fonh above, it
      is my opinion to a reasonable degree of medical probability dlat the enuse ofM •.•.Forlner's
     abnormal liver test results would have been diagnosed at an earlier lime, that MI'S.Fortner would
     ha,'e received allYcare and.treatmentll1at she mtty have needed in order to slnp drinking, and
     dla1 she would have avoided penmnnent damage to her liver and kidneys; Stated' otherwise, il is
     my opioion to a reasonable dcgree of medical probability that as a direct and proximate result of
     the aforementioned breaches in the standards o.fcare by dIe aforementioned healrhciJre providers,
     Mrs. Fortner sustained injuries and damages, including liver and kidney failure.

             This report is not, nor is it intended to be, an exhaustive description of all my opinions,
     conclusions and/or their basis. My opinions, stated above, are given wid, a reasonable degree of
     medical probability and/or certainty and may be mo.difjed andlor supplemenledupoD review of
     additional infnrmation and/or documents.

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                                                           Bnlcc D. Charnsh, M.D.
